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Case 19-12300-mkn Doc18_ Entered 04/23/19 15:41:10 Page 1 of 21

E-filed: April 23, 2019

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Attorneys for Creditor 4Front Advisors LLC

UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEVADA

In re Case No. 19-12300-mkn

hapter 1
CWNEVADA LLC, Chapter 11

CREDITOR 4FRONT ADVISORS LLC’S
Debtor. MOTION TO DISMISS BANKRUPTCY
PETITION OR, ALTERNATIVELY,
MOTION FOR RELIEF FROM THE
AUTOMATIC STAY TO ALLOW
RECEIVERSHIP AND CONTEMPT
PROCEEDINGS TO CONTINUE

Hearing Date: OST Pending
Hearing Time: OST Pending

Hearing Location:
United States Bankruptcy Court
Foley Federal Building, Courtroom No. 2
300 Las Vegas Blvd South, Third Floor
Las Vegas, Nevada 89101

 

 

 

 
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Case 19-12300-mkn Doc18 Entered 04/23/19 15:41:10 Page 2 of 21

Debtor-petitioner CWNevada LLC (“Debtor”) has forfeited the privilege of seeking
voluntary protection under federal bankruptcy law because Debtor’s sole business (while lawful
under Nevada state law) is growing, manufacturing, distributing, and selling a Schedule I
controlled substance (marijuana) in violation of the Controlled Substances Act of 1970. There
is no plan this Court could approve, and any bankruptcy trustee appointed by this Court would be
forced to act in violation of federal law; thus, Debtor’s Petition is futile.

Accordingly, and for the further reasons set forth herein, 4Front Advisors LLC
(“4Front”)! moves to dismiss the Petition under 11 U.S.C. §§ 305(a)(1) and/or 1112(b).
Alternatively, 4Front moves the Court to lift the automatic stay to allow 4Front, joined by other
creditors, to continue its months-long efforts to collect its judgment through the Nevada court
under Nevada law.”

PARTIES, JURISDICTION, AND VENUE

1. The Debtor is CWNevada LLC, a Nevada limited liability company, whose CEO,
primary shareholder, and representative who authorized the Petition in this matter is Brian
Padgett (“Padgett”), an eminent domain attorney in Nevada, who formed CWNevada LLC in
2014 to enter Nevada’s then-emerging state-legal cannabis industry as a state-licensed marijuana
cultivator, processor, wholesaler, and retailer.

2. On April 16, 2019, Debtor filed a voluntary petition (facially defective for many
reasons noted by the Clerk) for relief under chapter 11 of Title 11 of the United States Code.

3. This Court ostensibly has jurisdiction over this matter pursuant to 28 U.S.C.
§§ 157 and 1334. At this stage of the proceedings, 4Front does not concede that a federal
bankruptcy court has subject-matter jurisdiction in a Chapter 11 proceeding where the Debtor’s
core business contravenes federal law. Regardless, the Court has the power to grant the dismissal

sought by 4Front because dismissal is the only appropriate action in the absence of jurisdiction.

 

1 4Front is a national cannabis industry consultant highly regarded for its consulting work in jurisdictions
where the production and sale of cannabis products are legal under state law.

2 4Front is a judgment creditor based upon a January 2019 arbitration award, which was subsequently
confirmed over Debtor’s objection when, on March 14, 2019, final judgment was entered in Case No. A-
17-755479-C, Dept. XXXII, Eighth Judicial District Court, Clark County, Nevada (the “Nevada Action”).

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Case 19-12300-mkn Doc18 Entered 04/23/19 15:41:10 Page 3 of 21

4, To the extent jurisdiction exists, venue is proper in this Court pursuant to 28
U.S.C. §§ 1408 and 1409.

5. This is a core proceeding within the meaning of 28 U.S.C. § 157(b).

MEMORANDUM OF POINTS AND AUTHORITIES
I, INTRODUCTION

This Chapter 11 case involves reorganizing a Debtor whose sole operations—cultivating,
producing, and selling marijuana and marijuana products—are illegal under federal law. See
CWNevada Investor Update (February 2016) and Marijuana Licenses, attached as Exhibit 1; Feb.
15, 2019, Declaration of Brian Padgett, attached as Exhibit 21, {{ 8, 13. Debtor operates three
retail marijuana dispensaries (under the Canopi brand). Feb. 2, 2019, Declaration of Kris Krane,
attached as Exhibit 2, {9 9-10. It also operates several Nevada-licensed, state-legal marijuana
cultivation and manufacturing facilities (Nov. 2, 2018, Stipulation of Uncontested Facts, attached
as Exhibit 3, §§ 10-12) that are illegal under federal law. Debtor is attempting to use federal
bankruptcy law as a tool to thwart and delay its creditors’ collection efforts while Debtor
undoubtedly squirrels away millions of dollars in untraceable cash, prior to the inevitable receiver
appointment in the Nevada Action.

Further proving Debtor’s core marijuana business, Debtor cannot distance itself from its
under-oath representations in the Nevada Action. Specifically, while opposing 4Front’s motion
for preliminary injunction in the Nevada Action, Debtor boasted that it had more than enough
assets (e.g., marijuana inventory) to satisfy Debtor’s $5 million judgment debt to 4Front through
the sale of marijuana. For example, Debtor’s CPA, Anthony Imbimbo, enumerated Debtor’s

federally illegal assets in detail under oath:

CWNevada has a cultivation facility that produces approximately
[redacted]? pounds per year on average. This monthly average is
[redacted] pounds of Cannabis per month for a fair market value
of $[redacted]. This is based on an average retail price of
$[redacted] (broken down into sales quantities), Based on this
assumption the Annual Cultivation totals $[redacted].

Current inventory on hand [at CWNevada] includes over
[redacted] pounds of Cannabis Flower broken down into various

 

3 An unredacted version of this document exists, subject to a protective order in the Nevada Action.

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Case 19-12300-mkn Doc18 Entered 04/23/19 15:41:10 Page 4 of 21

sales weights (valued at $[redacted]), Cannabis Trim of [redacted]
(valued at $[redacted] per pound for a total of $[redacted]), Edible
Products of [redacted] units (valued at $[redacted]), Concentrates
of [redacted] units (valued at $[redacted]), and Work in Process
inventory (valued at $[redacted]). The fair market value of this
inventory totals $[redacted].

Feb. 14, 2019, Declaration of Anthony Imbimbo, attached as Exhibit 4, {{] 6-7 (emphasis added).

To reorganize under Chapter 11, Debtor would need to generate revenues from federally
illegal marijuana sales to continue operations and pay back its creditors. Thus, no plan of
reorganization can be confirmed pursuant to 11 U.S.C, 1129(a)(3) because no plan can be
“proposed in good faith and not by any means forbidden by law.” Jd. The privilege provided by
federal bankruptcy law cannot be applied to reorganize a business whose sole operations violate
federal law. Moreover, the Debtor likely cannot find a bank or other financial institution which it
can deposit its cash and cash equivalents with in violation of 11 U.S.C. § 345. This is especially
troubling as it is believed that Debtor’s business is primarily a cash business.

While bankruptcy could assist 4Front and the other creditors, this dispute is already being
aptly managed by Judge Bare in the Nevada Action. Indeed, the Nevada court has signaled that it
may appoint a receiver under Nevada state law, including because of allegations about the Debtor
being seriously mismanaged. See, e.g., Apr. 4, 2019, Transcript of Proceedings, attached as
Exhibit 5, at 7:23-8:1, 18:23-19:6; Apr. 17, 2019, Transcript of Proceedings, attached as Exhibit
22, at 23:9-12 (“I’m going to appoint a temporary receiver, at a minimum.”). Doubtless, Debtor’s
purpose in filing the Petition on the cusp of the appointment was to thwart the valid state court
receivership proceedings so that Mr. Padgett can continue to mismanage Debtor for his own
benefit and to the detriment of 4Front and other creditors. Debtor and its creditors would benefit
from the preservation of the value of the business that a Nevada court-ordered receivership would
bring. Accordingly, this Court should abstain by dismissal under 11 U.S.C. Section 305(a) or

dismiss under Section 1112(b).

 

4 Debtor also likely filed this petition to avoid a contempt order. The petition was filed on the eve of
Debtor’s return hearing on an Order to Show Cause due to Debtor’s failure to comply with Judge Bare’s
April 4, 2019 Order. See April 12, 2019 Order, attached as Exhibit 6.

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Case 19-12300-mkn Doc18_ Entered 04/23/19 15:41:10 Page 5 of 21

Respectfully, this honorable Court is not empowered to oversee a business being operated
contrary to federal law even though its operations may be legal under state law. Nor can it
appoint a trustee to manage a federally illegal business. If this Court were to do so, its
involvement creates a non-trivial risk that Debtor’s state-legal assets could be seized and
destroyed, to the detriment of all parties. Thus, Debtor and its relationship with its creditors will
be better managed by the Nevada court under Nevada law. The Petition should be dismissed, or,
at a minimum, the automatic stay should be lifted so the Nevada court can proceed in protecting
the interests of all parties involved.

Il. FACTUAL BACKGROUND
A. 4Front’s Consulting Contract and Arbitration Award.

Shortly after Debtor’s formation in 2014, Debtor entered a consulting agreement with
4Front, whereby 4Front agreed to provide consulting services to assist Debtor in applying for
highly valuable and competitive licenses to operate state-legal marijuana facilities in Nevada.
Krane Decl. ff 6, 13. 4Front, a nationally-recognized industry consultant, successfully delivered
its services. Id. 95, 14. But Debtor refused to pay. Jd. 14.

While 4Front thought it was negotiating a compromise of its consulting fees, on May 15,
2017, Debtor attempted to circumvent a contractual arbitration provision and venue clause by
filing litigation in Nevada state court. April 23, 2019 Declaration of Cory Braddock, attached as
Exhibit 7, § 3. On May 19, 2017, 4Front filed its Statement of Claim before the American
Arbitration Association. Krane Decl. § 15. On August 18, 2017, the Nevada court (1) granted
4Front’s Motion to Compel Arbitration, and (2) stayed the state court litigation pending the
outcome of the arbitration proceeding. Braddock Decl. { 4.

After five days of evidence at arbitration, the panel of three duly-appointed AAA
commercial arbitrators found entirely in 4Front’s favor. Jan. 9, 2019, AAA Final Award,
attached as Exhibit 8. On January 9, 2019, the panel issued its Final Award, awarding
$4,987,092.29 in damages, attorneys’ fees, costs, AAA administrative fees, and arbitrators’ fees

to 4Front (“Award”), ordering CWNevada to pay 4Front the Award.° Id.

 

5 Another entity, NuVeda LLC, was also a party to the arbitration, largely aligned with Debtor. NuVeda
recently satisfied its separate ~$3.7 million judgment in 4Front’s favor.

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Case 19-12300-mkn Doc18 Entered 04/23/19 15:41:10 Page 6 of 21

B. Nevada Action.

On January 22, 2019, 4Front moved to confirm the award in the Nevada Action over
Debtor’s objections. Braddock Decl. 5. On March 14, 2019, the Nevada court confirmed the
Award, entering final judgment in favor of 4Front and against Debtor in the amount of
$4,987,092.29. Mar. 14, 2019 Order, attached as Exhibit 9. To prevent the misappropriation
and/or dissipation of Debtor’s assets pending entry of Judgment, on February 5, 2019, 4Front
sought, and the Nevada court entered, a Temporary Restraining Order prohibiting Debtor from
“selling, transferring, or otherwise disposing of any assets” in Debtor’s possession, custody,
and/or control. Feb. 5, 2019 Order, attached as Exhibit 10. Subsequently, 4Front filed its
Application for Appointment of a Receiver (“Application”), and on February 28, 2019, the court
held a hearing on 4Front’s Application. Braddock Decl. { 6. During the initial hearing on the
Application, Debtor requested an additional three weeks to file a supplemental response, and the
hearing on 4Front’s Application was moved to April 4, 2019. Braddock Decl. { 7. In addition to
moving the hearing, on March 14, 2019, the court granted 4Front’s Motion for Preliminary
Injunction, thereby converting the Temporary Restraining Order to a preliminary injunction “to
preserve the status quo, effective until the Court orders otherwise.” March 14, 2019 Injunction,
attached as Exhibit 11.

On March 26, 2019, certain noteholders filed a motion to intervene. Braddock Decl. { 8.
At the April 2, 2019 hearing on this issue, Debtor indicated (for the first time) that it intended to
file an emergency motion seeking even more time to respond to 4Front’s Application. Braddock
Decl. § 9. Debtor filed its emergency motion within hours of the hearing, and the Court set a
hearing on the emergency motion on April 4, 2019. Apr. 2, 2019 Emergency Motion on Order
Shortening Time, attached as Exhibit 12. During the April 4" hearing, Debtor made many
material representations to the Nevada court and the parties, including those discussed below.

For example, the court stated, “I would want to make sure that if I were to grant the
continuation request, that nothing happens in the interim . . . to cause any prejudice.” See Ex. 5 at
8:23-9:2. The court continued, “If I grant the Motion to Continue . . . I want to be as aggressive

as I can in continuing the injunctive activity to be sure . . . that there’s no exposure or potential

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Case 19-12300-mkn Doc18 Entered 04/23/19 15:41:10 Page 7 of 21

prejudice to the defense or the intervening parties as we go forward .. . I would want to have an
aggressively tailored injunction to make sure that nothing bad could happen.” Id. at 10:9-18,
11:12-14. In response to these concerns, Debtor’s lawyer, Justice Maupin (Ret.), agreed “the
injunction is a very important part of . . . the protection for this arbitration judgment.” Jd. at 24:9-

11. And Justice Maupin (Ret.) represented to the Court:

[W]e’ve got some language here that we would suggest that I think
would protect everyone involved and that is to add language to the
effect that CWNevada, LLC shall . . . take any and all steps
necessary to ensure that all tax payments due to the State of
Nevada and municipalities shall be current as of the continued
hearing.

Id. at 24:14-21 (emphasis added). The court relied on that representation and responded “So, you
can keep that all current.” Jd. at 24:24.

Acknowledging the “idea of failing to pay taxes, jeopardizing the license, was part and
parcel of the Opposition to the continuation,” the Court reiterated, “Mr. Maupin stands up and
says, we'll agree to keep all the tax issues current, that seems to me if I order it, they'll do it.
That dispenses with any prejudicial concern having to do with the tax issue.” Jd. at 26:23-27:4
(emphasis added). And the Court recognized that “[CWNevada] would proceed at their own risk
if they were to do something untoward.” Jd. at 31:7-8.

Accordingly, the court ordered Debtor to verify that Debtor was current on its cannabis
related tax obligations in order to prevent the substantial risk of revocation of Debtor’s valuable
cannabis licenses. “[T]he injunction will require to plaintiffs to be current and verify to the
defense and the intervenors that they’re current on the tax obligations.” Jd. at 56:20-23. Again,
the court ordered compliance by 5:00 p.m. on April 9, 2019. Id. at 57:5-16.

During the hearing, and although the court did not impose the same type of deadline as for
the tax issue, the court also ordered Debtor to make sure that Debtor’s employees were paid all
wages. Ex. 5 at 57:5-22. Since the April 4, 2019 hearing, three of Debtor’s employees have filed
a class action lawsuit against Debtor for non-payment of wages. A copy of their complaint is

attached as Exhibit 13.

 
 

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Case 19-12300-mkn Doc18 Entered 04/23/19 15:41:10 Page 8 of 21

In summary, during the hearing, the court: (1) granted Debtor’s motion for additional
time; (2) set a May 6, 2019 evidentiary hearing on 4Front’s Application; and (3) ordered Debtor,
among other things, to get current on all cannabis related tax obligations and provide verification
to 4Front and all intervening parties no later than 5:00 p.m. on April 9, 2019, so that Debtor’s
valuable cannabis licenses would not be at risk of revocation. See Ex. 5 at 57:5-58:10.

The April 9, 2019 5:00 p.m. deadline passed without Debtor submitting the required proof]
that it had paid it cannabis related taxes. Braddock Decl. { 10. Two hours after the court’s April
9, 2019 deadline passed, 4Front’s counsel e-mailed Debtor’s counsel and requested Debtor’s
verification that it paid its cannabis tax obligations; Debtor did not respond. Braddock Decl. { 11.
On the afternoon of April 10, 4Front’s counsel again requested the verification from Debtor.
And, again, Debtor failed to respond. Braddock Decl. 12. Later that afternoon, Intervenor Tim
Smits Van Oyen received an e-mail from the Marijuana Enforcement Division of the Nevada
Department of Taxation. See April 10, 2019 Email from R. Branner with attachments, attached as
Exhibit 14. According to the Marijuana Enforcement Division’s e-mail, as of the afternoon of
April 10, 2019, Debtor continues to owe the State of Nevada $388,890.45 in taxes through
February 2019. Jd. The Marijuana Enforcement Division also provided copies of recent billing
statements and a copy of a Notice of Dishonored Payment, demonstrating that Debtor’s tax
payment postmarked on March 15, 2019 was returned by the bank “due to Payment Stopped.” Id.

Equally concerning is the fact that on or about April 18, 2019, 4Front learned that the the
Debtor has allowed its insurance to lapse, including its insurance for general liability, property,
worker’s compensation, product liability and directors and officers. See April 18, 2019 Email
from Greg Pike to Tim Smits Van Oyen, attached as Exhibit 24.

Accordingly, 4Front filed on April 12, 2019, an Ex Parte Application for Order to Show
Cause (attached as Exhibit 15) regarding CWNevada’s violation of the court’s order. The Court
entered the Order to Show Cause and set a hearing for April 17, 2019. Ex. 15.

During the weekend before the hearing, Debtor’s CEO Padgett sent several creditors an

email (attached as Exhibit 16) with the subject line, “Wrong Turn, Boys”:

 
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Case 19-12300-mkn Doc18 Entered 04/23/19 15:41:10 Page 9 of 21

Since we are coming to the end of this clown convention, I’1I tell
you, smartest thing Jannotta® did was not joining in on this one.

I doubt any of you are fit to hold licenses.
Heat’s about to turn up boys.

BCP [Brian C. Padgett]

This “heat” undoubtedly referred to Debtor’s last-ditch effort to delay a receiver by filing the
Petition in this Court, which it did close to 11:00 p.m. on the eve of the April 17, 2019 hearing.
See ECF No. 1. Neither Debtor’s CEO Padgett nor Debtor’s new lawyer Justice Maupin (Ret.)
was at the April 17, 2019 hearing, during which the court considered possible contempt sanctions.
Braddock Decl. § 13. The court also set a May 6, 2019, hearing for Debtor to show cause as to
why it should not be held in contempt for violating the court’s order. Braddock Decl. { 14.

C. Debtor Is Mismanaged

As discussed above, the past two months have included numerous court hearings in the
Nevada Action wherein Debtor has tried, unsuccessfully, to show the Nevada court that Debtor is
not mismanaged and has more than enough assets to satisfy its debts.’

As an example, Debtor had its respected lawyer, Justice Maupin (Ret.), tell the Nevada
court that Debtor would come current on its taxes, even waving a sizeable paper check at the
hearing to convince the Nevada court that Debtor’s affairs were under control. See Ex. 5 at
24:14-21, 41:4-42:1. It did so to bolster Debtor’s argument that the month-long delay in
appointing a receiver would not prejudice the creditors; the Court granted that delay based in part
on Justice Maupin’s representation. See id. at 26:23-27:4. Yet, the Debtor ordered a stop payment
and continues to disobey the Nevada court order to be current on taxes. Exhibit 14 at 065;
Exhibit 6. Despite the huge potential (under competent management) for profitability by a state-
legal cannabis business with three dispensaries around Las Vegas and numerous other state-

licensed marijuana facilities, Debtor’s affairs are out of control.

 

6 Mr. Jannotta appears to be another creditor, who may or may not have already been satisfied.
7 Under the well-managed care of a qualified Nevada court-appointed receiver, 4Front also currently
believes it would be possible for Debtor to satisfy its debts within a reasonably short time.

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Case 19-12300-mkn Doc18 Entered 04/23/19 15:41:10 Page 10 of 21

Debtor’s actions in a separate lawsuit brought by The CIMA Group LLC also show
Debtor’s mismanagement. On March 15, 2019, Judge Allf (Clark County District Court,
Department 27) entered an Order to Show Cause Why Contempt and Discovery Sanctions Should
Not Be Imposed upon Debtor. See March 15, 2019 Order (Judge Allf), attached as Exhibit 17.
The Order to Show Cause ordered Debtor, Brian Padgett, and Amy Sugden® to appear in
Department 27 to “show cause why they and CWNevada should not be held in contempt and why
the contempt and/or discovery related sanctions requested . . . should not be imposed for
disobedience of orders issued by this Court and for failing to respond to discovery requests and
produce documents and other tangible things as required by the Court’s orders.” Jd.

Debtor’s failure to provide evidence in the Nevada Action in support of its alleged ability
to satisfy a judgment also shows mismanagement. Debtor claims, “in this matter, plummeting
revenues do not exist” (CWNevada Supplemental Opp’n, attached as Exhibit 19, at 7:8), but
Debtor recently closed one of the three dispensaries it controls—the dispensary on 3rd Street in
Las Vegas. See Jan. 31, 2019 Letter to CWNevada, attached as Exhibit 20 (“Most egregious,
CWNevada has unilaterally decided to close the dispensary located at 1320 South 3rd Street, Las
Vegas, Nevada 89104.”). It is axiomatic that closing one of the three dispensaries creates
plummeting revenues. If Debtor had evidence to show revenues somehow were not plummeting
and that it was properly managing its business, it could have done so. But it has not.

D. Debtor Is Desperate to Frustrate 4Front’s Creditor Rights

Debtor, led by Padgett, has sought at every turn to avoid paying 4Front. Debtor refused to
pay under its contract with 4Front despite receiving valuable services in obtaining numerous
marijuana licenses in a highly-competitive environment. See Krane Decl. {| 6, 13-14. Debtor
refused to pay when 4Front attempted to negotiate a resolution, and even secretly sued 4Front
(without merit) several days before a settlement meeting between principals. See Braddock Decl.
{ 3. Debtor refused to participate in the arbitration and had to be compelled by the Nevada court.

Id. Debtor refused to follow the arbitration panel’s discovery orders and was sanctioned in the

 

8 Ms. Sugden is a Nevada lawyer who works (or worked) for Mr. Padgett’s law office. On April 19, 2019,
Ms. Sugden filed her own lawsuit against Mr. Padgett and his law office, seeking to recover $225,100
from an alleged loan to Mr. Padgett. Sugden Complaint, attached as Exhibit 18.

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Case 19-12300-mkn Doc18 Entered 04/23/19 15:41:10 Page 11 of 21

arbitration for its disobedience. Mar. 15, 2018, AAA Order, attached as Exhibit 23. Debtor lost
on all of its claims and defenses at the arbitration hearing. Ex. 8. Debtor refused to pay the
arbitration award. Krane Decl. § 24. Debtor opposed confirmation of the arbitration award,
arguing unsuccessfully that the Nevada state court could not confirm the Nevada-law-based
award because of federal illegality under the Controlled Substances Act? Braddock Decl. { 15.
Debtor refused to pay 4Front after the award was confirmed and final judgment entered.
Braddock Decl. 4 16. Debtor opposed receivership and demanded continuance based on the good
(but unfortunately mis-used) credit of its lawyer Justice Maupin (Ret.). See, generally, Exs. 5, 19.
Through its lawyers and CPA, Debtor represented to the Nevada state court that there were more
than enough assets to satisfy 4Front’s judgment, so a month-long delay of the receivership
hearing would cause no prejudice. See, generally, Exs. 4, 5,21. After losing every conceivable
battle in this multi-year war that Padgett calls a “clown convention,” and on the brink of
receivership, Debtor filed this bankruptcy Petition in federal bankruptcy court—to achieve a stay
and further prejudice its creditors’ rights—fully knowing that this Court cannot grant relief to a
state-licensed cannabis business that operates in violation of federal law. Nonetheless, he taunts:
“Wrong Turn, Boys, ... Heat’s about to turn up boys.” Ex. 16.

Debtor’s transparent delay strategy is further manifest by Debtor’s complete failure to file
most of the required documents in support of the slipshod Petition. The record shows that
Debtor’s only purpose is to delay the Nevada Action so that he can hide assets and not to receive

federal law protection, an impossibility under the circumstances.

Ill, ARGUMENT
A. This Court Cannot Grant Relief to Debtor Under Federal Bankruptcy Law.
At least three statutory grounds exist, in addition to the unclean hands doctrine, for
dismissing Debtor’s Petition. But before reaching those specific grounds, this section explains

generally why the federal bankruptcy protection Debtor seeks is futile.

 

9 While unbelievable in this forum, Debtor actually argued that its business was violative of the CSA to try
and avoid confirmation of the arbitration award. It cannot now argue otherwise.

-10-

 
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Case 19-12300-mkn Doc18 Entered 04/23/19 15:41:10 Page 12 of 21

The Supreme Court has held that “[tJhere is no constitutional right to obtain a discharge of
one’s debts in bankruptcy.” United States v. Kras, 409 U.S. 434, 446 (1973). A bankruptcy
discharge “is a privilege.” In re Morgan, No. ADV. 04-04017, 2006 WL 6810970, at *3 (B.A.P.
9th Cir. Sept. 13, 2006); accord In re Arenas, 535 B.R. 845 (10th Cir. BAP 2015) (“Bankruptcy
relief is merely a privilege.”); In re Aguirre, No. 12-14281-B-7, 2012 WL 8255587, at *2 (Bankr.
E.D. Cal. Oct. 9, 2012) (“A bankruptcy discharge is a privilege and may only be granted to the
honest debtor.”’)

While the Ninth Circuit BAP has yet to squarely address the specific marijuana issue
raised here, the Tenth Circuit BAP (cited by bankruptcy courts in the Ninth Circuit) has held that

state-licensed cannabis operators cannot obtain bankruptcy relief under federal law:

Possessing, growing, and dispensing marijuana and assisting others to
do that are federal offenses. But like several other states, Colorado has
legalized these acts and heavily regulates them, triggering a flourishing
marijuana industry there. Can a debtor in the marijuana business
obtain relief in the federal bankruptcy court? No.

Inre Arenas, 535 B.R. 845, 847 (10th Cir. BAP 2015). Citing the U.S. Supreme Court’s decision
in Marrama v. Citizens Bank of Massachusetts, 549 U.S. 365, 375 (2007), the Tenth Circuit BAP
noted that the debtor’s involvement in federally unlawful conduct “betrays a lack of good faith
that would bar confirmation under 11 U.S.C. § 1325(a)(3).” Arenas, 535 B.R. at 847. While
Debtor and Padgett have demonstrated substantial bad faith through their conduct during the past
two years, the mere application for federal bankruptcy relief by Debtor, as a marijuana business,
shows the requisite “lack of good faith” required to justify dismissal. In re Arenas, 535 B.R. at
849-50 (“while the debtors have not engaged in intrinsically evil conduct, the debtors cannot
obtain bankruptcy relief because their marijuana business activities are federal crimes”).

The Tenth Circuit BAP affirmed the bankruptcy court’s dismissal because “it would be
impossible for the . . . Trustee to administer the [debtor’s] estate because selling and distributing

the proceeds of the marijuana assets would constitute federal offenses.”!° Jd. at 853. The

 

10 While a federally appointed trustee would violate federal law in administering a reorganization plan
here, a Nevada-appointed receiver would not violate Nevada law in operating Debtor’s business, because
the conduct at issue, which takes place in Nevada, is legal under Nevada law.

-11-

 
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Case 19-12300-mkn Doc18 Entered 04/23/19 15:41:10 Page 13 of 21

appellate court held that the “impossibility of lawfully administering the estate constituted cause
for dismissal under § 707(a).” Jd.

In sum, a debtor whose sole business is marijuana sales cannot obtain federal bankruptcy
relief. Id; see also In re Rent-Rite Super Kegs W. Ltd., 484 B.R. 799, 805 (D. Colo. 2012)
(dismissing Chapter 11 petition where 25% of debtor’s revenue came from leasing to marijuana
business, holding that “a federal court cannot be asked to enforce the protections of the
Bankruptcy Code in aid of a Debtor whose activities constitute a continuing federal crime”), Jn re
Way To Grow, Inc., 597 B.R. 111, 120 (D. Colo. 2018) (“a bankruptcy case cannot proceed where
the court, the trustee or the debtor-in-possession will necessarily be required to possess and
administer assets which are . . . illegal under the CSA”); In In re Jerry L. Johnson, 532 B.R. 53
(Bankr. W.D. Mich. 2015) (operating business even with mixed income sources—some unlawful
and some “untainted,” would require the court, trustee, and debtor to violate federal law); In re
McGinnis, 453 B.R. 770 (Bankr. D. Or. 2011) (chapter 13 plan was unconfirmable because it
relied on a future change to Oregon medical marijuana law and it violated federal law); In re
Medpoint Mgt., LLC., 528 B.R. 178 (Bankr. D. Ariz. 2015), vacated in part, 2016 WL 3251581
(9th Cir. BAP 2016) (petitioning creditors who filed an involuntary petition against a company
with whom they were involved in the (legal under state law) medical marijuana business, acted
with unclean hands because they were engaged in activity illegal under federal law).

The two most pertinent Ninth Circuit BAP decisions on this topic were designated “Not
for Publication.” The first, In re Medpoint Management, was limited to whether there was a bad
faith showing by an involuntary debtor who successfully dismissed the creditors’ involuntary
petition—based on a similar Controlled Substances Act argument as raised in the instant
motion—sufficient to justify an award of attorney fees, costs, and damages. No.
BAPAZ151130KUJAJU, 2016 WL 3251581 (B.A.P. 9th Cir. June 3, 2016) (vacating fees, costs,
and damages order and remanding for further record development on the bad faith question). The
instant motion is not about awarding fees, costs, or damages for improper bankruptcy filings.

The second Ninth Circuit BAP decision, Jn re Olson, also “Not for Publication,” vacated

dismissal of a 92-year old blind debtor’s petition for chapter 13 relief to stop foreclosure of her

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Case 19-12300-mkn Doc18 Entered 04/23/19 15:41:10 Page 14 of 21

commercial real property, because some rent had been paid that was derived from operation of a
marijuana business. No. 3:17-BK-50081-BTB, 2018 WL 989263, at *5 (B.A.P. 9th Cir. Feb. 5,
2018). The BAP noted the bankruptcy court’s failure to cite any statutory authority or make any
findings regarding bad faith. Jd. In view of the blind nonagenarian whose finances were being
handled by her son, it was not even clear from the record whether the scienter element of a
Controlled Substances Act violation was present. Jd. at *6. While the BAP indicated there was
authority to support the dismissal, it vacated and remanded because “without specific findings
and conclusions, we cannot determine whether or how the court found those cases applicable to
the facts of this case.” Jd. Judge Tighe’s concurring opinion further noted “the importance of
evaluating whether the Debtor is actually violating the Controlled Substances Act and (2) the
need for the bankruptcy court to explain its conclusion that dismissal was mandatory under these
circumstances.” Jd. In discussing situations where dismissal is clearly appropriate, Judge Tighe
noted “these were cases where the debtor sought to continue to distribute marijuana post-petition
or where a trustee would be asked to accept proceeds of a drug-related business, situations where
federal law would clearly be violated.” Id. at *7. Clearly, that is the situation here because
selling marijuana is Debtor’s only business. See Exs. 1, 3; Krane Decl. {{] 9-10; Imbimbo Decl.
qq 6-7. And unlike Olson, Debtor is not a blind elderly person who has no idea that federal laws
are being broken. Neither is Mr. Padgett. He is a Nevada lawyer who knows precisely what the
federal laws prohibit.

Accordingly, the law this Court must follow is clear: the Court must dismiss the Petition.

B. Dismissal Under 11 U.S.C. § 305(a) Is Warranted Because Interests of Creditors and
Debtor Are Better Served by Dismissal.

Dismissal is proper under Section 305(a) if “the interests of creditors and the debtor would
be better served by such dismissal ....” 11 U.S.C. § 305(a)(1).!! When considering whether to
abstain by dismissal, “a bankruptcy court is not bound by a prescriptive template; it may consider

any factors it deems relevant to the determination of whether it is in the best interests of the

1! Section 305(a)(1) applies in voluntary cases. See, e.g., In re IT, LLC, No. A15-00107-HAR, 2015 WL
5042147, at *5 (Bankr. D. Alaska May 4, 2015), as corrected (May 7, 2015); In re Gabriel Techs. Corp.,
No. 13-30341, 2013 WL 5550391, at *4 (Bankr. N.D. Cal. Oct. 7, 2013) (“[S]uspension or dismissal is
clearly available on voluntary petitions.”)

 

-13-

 
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Case 19-12300-mkn Doc18 Entered 04/23/19 15:41:10 Page 15 of 21

parties to the suit to seek dismissal.” In re Spade, 269 B.R. 225, 228 (D. Colo. 2001); see Jn re
Eastman, 188 B.R. 621, 624-625 (9th Cir. BAP 1995) (under section 305(a), “the test is whether
both the debtor and the creditors would be ‘better served’ by a dismissal”).

Courts consider many factors, among them “whether another forum is available to protect
the interests of both parties or there is already a pending proceeding in state court,” debtor’s
“purpose for which bankruptcy jurisdiction has been sought,” and “the economy and efficiency of
administration.” In re Morabito, No. BAP NV-14-1593-FBD, 2016 WL 3267406, at *5 (B.A.P.
9th Cir. June 6, 2016) (citing seven-factors listed in In re Monitor Single Lift I, Ltd, 381 B.R.
455, 464-65 (Bankr. S.D.N.Y. 2008)). These three factors, at a minimum, demonstrate that the
interests of the creditors and Debtor are better served by abstention by dismissal in this case.

C. Availability of Another Forum aerante to Resolve the Dispute.

In In re Spade, the court concluded that “lack of procedural or substantive benefits in the
bankruptcy court, the fact that the parties can fairly resolve this dispute in the state court, and the
fact that the proceedings in the bankruptcy court may cause undue delay to creditors suggests that
the interests of the creditors and the Debtor would be better served by dismissal of the case in
favor of the state court proceedings.” 258 B.R. 221, 235 (D. Colo. 2001). Here, Debtor’s core
business—operating a Nevada marijuana business—necessitates that another forum, the Nevada
district court in Clark County, resolve the Debtor’s debt and management issues. 4Front and
other creditors are several months into that process, at a substantial cost. See also Morabito, 2016
WL 3267406, at *5 (also considering “whether a non-federal insolvency has proceeded so far in
those proceedings that it would be costly and time consuming to start afresh with the federal
bankruptcy process”).

Indeed, 4Front, joined by other creditors, has sought appointment of a receiver in the
Nevada Action because 4Front’s interests (and that of other creditors) were at risk of being
materially injured or impaired. As demonstrated through the Nevada Action, the Nevada court is
well-equipped to handle a receivership of a state-licensed marijuana-related business and appoint
an equitable receiver. See, e.g. Yates v. Hartman, 2018 COA 31, 2018 WL 1247615, *4 (Col. Ct.
App. March 8, 2018), cert. denied, No. 18SC283, 2018 WL 6047904 (Colo. Nov. 19, 2018)

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Case 19-12300-mkn Doc18 Entered 04/23/19 15:41:10 Page 16 of 21

(Colorado court may appoint receiver over marijuana business so long as receiver complied with
Colorado’s marijuana licensing laws).

Creditors can expect comparable treatment in a state court receivership that they would
have received under bankruptcy law, where a receivership estate is created, a neutral officer of the
court—the receiver—exercises control over the estate and administers claims against the
receivership estate. Further, the Debtor’s matters should be relegated to Nevada state court
because federal bankruptcy courts are not empowered to preside over marijuana-related
businesses whose activities place assets — and the bankruptcy trustee — at risk of federal seizure,
forfeiture, and prosecution. See, e.g., In re Rent-Rite Super Kegs W. Ltd. 484 B.R. 799, 806 (D.
Colo. 2012) (“Yet, the Court cannot use the adjudicative authority granted to it by Congress to
force [creditor] to bear even a highly improbably risk of total loss of its collateral in support of
the Debtor’s ongoing violation of federal criminal law.”). Accordingly, the availability of another
forum to handle this matter supports Section 305(a) dismissal.

D. Debtor’s Motivation in Filing the Petition Was to Frustrate Creditors’ Rights.

Debtor, and its principal and CEO Mr. Padgett, saw defeat at every turn in arbitration and
in the Nevada Action. It knew a receiver was about to be appointed, and after that Debtor and
Mr. Padgett would have a much more difficult time misappropriating and mismanaging (for Mr.
Padgett’s benefit and to the detriment of 4Front and other creditors) the highly liquid cash and
other assets in Debtor’s possession. Debtor and Mr. Padgett were on the eve of receiving severe
sanctions for their contempt in the Nevada Action. The only way to delay further was to, as
Padgett put it, turn up the “heat” by filing a bankruptcy petition and getting an automatic stay
regardless of the well-known futility of federal bankruptcy proceedings in a case like this.

This motivation, which had nothing to do with getting creditors paid, supports abstention
by dismissal as serving the best interests of creditors and the Debtor. See, e.g., In re Drury, No.
2:15-BK-17125, 2016 WL 4437555, at *7 (B.A.P. 9th Cir. Aug. 23, 2016) (considering
“motivation for the debtor’s bankruptcy case filing, including any intent to impede state court

litigation” as a factor favoring dismissal); see also In re eFusion Servs., LLC, No. 13-30740

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Case 19-12300-mkn Doc18 Entered 04/23/19 15:41:10 Page 17 of 21

MER, 2014 WL 5293415 (Bankr. D. Colo. Oct. 16, 2014) (debtor’s motivation—treducing value
to creditors—for seeking bankruptcy jurisdiction supported dismissal).
E. Economy and Efficiency of Administration Supports Abstention by Dismissal.

In cases like this one, the state court is the most efficient and economical forum to
administer the issues raised in the dispute. See, e.g., In re Space, 258 B.R. 221, 236 (D. Colo.
2001). Neither the creditors nor the Debtors can possibly fare better with the assistance of a
federal bankruptcy court that is powerless to appoint a trustee over an enterprise whose core
business is illegal under federal law, or to protect and administer the Debtor’s only assets that
could produce revenue sufficient to satisfy the debts at issue. For example, Section 6.1 of the
Region 17 United States Trustee Guidelines states that management and operation of the Debtor
shall be performed “without risk to the public and in compliance with federal, state, and local
law.” While a trustee could avoid violating state and local law, there is no way to “manage and
operate” Debtor “in compliance with federal” law.

Administration of Debtor’s estate in bankruptcy is futile because revenues enabling any
reorganization plan would necessarily be generated from activity (growing, distributing, and
selling marijuana) that is federally illegal. See In re Rent-Rite Super Kegs West Ltd., 484 B.R.
799, 809 (D. Colo. 2012 (“[Section] 1129(a)(3) forecloses any possibility of this Debtor obtaining
confirmation of a plan that relies on any part on income derived from a criminal activity.”). Here,
the Debtor intends to fund reorganization through the sale of cannabis, as confirmed by Debtor’s
CPA in the affidavit filed in the Nevada Action. Imbimbo Decl. { 6-7.'?. This is not a surprise
because selling marijuana is Debtor’s sole business. Ex. 1; Padgett Decl. 8, 13. Thus, there is
no possibility to obtain confirmation of any reorganization plan under Section 1129(a)(3).

Moreover, given Debtor’s mismanagement, allowing Debtor and Padgett to avoid (by
maintaining this bankruptcy action) the appointment of an experienced, neutral receiver to run the
business and make the creditors whole pursuant to Nevada law will not serve the economic and

efficient administration of the estate. Under Padgett’s leadership, Debtor is seriously

 

12 AFront necessarily relies on evidence from the Nevada Action because Debtor failed to comply with the
rules requiring it to submit numerous materials, including a Summary of Assets and Liabilities, Schedule
A/B: Property; Schedule D: Creditors Who Have Claims Secured by Property; Statement of Financial
Affairs, and others, in connection with the Petition. See ECF No. 7 (Clerk’s Notice of Deficiency).

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Case 19-12300-mkn Doc18 Entered 04/23/19 15:41:10 Page 18 of 21

mismanaged. In the Nevada Action, Judge Bare has already signaled that he is likely to sanction
CWNevada because it has ignored his Order. See Ex. 22 at 20:14-16.

4Front is an expert in this industry, and all indicators are that Debtor should be hugely
profitable. Because of Mr. Padgett’s poor decision-making, it is not. A state-appointed receiver
will efficiently resolve the issues, turn Debtor around, and resolve the creditors’ claims in an
expeditious manner. On the other hand, proceeding in this Court, with the attendant stay on the
Nevada court’s efforts, will indefinitely stall and potentially destroy any resolution as the Debtor
continues to flounder and squander resources under Padgett’s control. Accordingly, the interests
of the creditors and the Debtor are better served by abstention by immediate dismissal under 11

U.S.C. § 305(a).

F. Dismissal Under 11 U.S.C. § 1112(b) Is Warranted Because Debtor’s Bad Faith
Constitutes Cause for Dismissal, Which Is Also in the Best Interests of Creditors and
the Estate.

11 U.S.C. § 1112 lays out a non-exclusive list of reasons a court should consider dismissal
of a chapter 11 case, including “for cause.” “For cause” includes the filing of a bankruptcy case
in bad faith. In re Marsch, 36 F.3d 825, 828 (9th Cir. 1994) (“{C]ourts have overwhelmingly
held that a lack of good faith in filing a Chapter 11 petition establishes cause for dismissal.”’).
The Ninth Circuit BAP has held that “bad faith exists if there is no realistic possibility of
reorganization and the debtor seeks merely to delay or frustrate efforts of secured creditors.” Jn
re Boulders on the River, Inc., 164 B.R. 99, 103 (B.A.P. 9th Cir. 1994). Such is the case here.
Indeed, “a bankruptcy plan that proposes to be funded through income generated by the sale of
marijuana products cannot be confirmed unless the business generating the income is legal under
both state law and federal law.” Arm Ventures, 564 B.R. at 84.

Even if the Debtor was otherwise of “pure mind and heart” when this case was filed, the
very fact that the only possible plan would be based on income derived from the sale of marijuana
can be deemed “bad faith”. Arenas, 535 B.R. at 852-53 (affirming the bankruptcy court’s finding
that, notwithstanding that the debtors appeared “to be sincere and credible” and “their motives in
seeking bankruptcy relief were not improper”). As the Tenth Circuit BAP held, in finding bad

faith, “It is objectively unreasonable for them to seek Chapter 13 relief whether their intentions

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Case 19-12300-mkn Doc18 Entered 04/23/19 15:41:10 Page 19 of 21

are kindly or not.” Id.; accord In re Jerry L. Johnson, 532 B.R. at 53; see also In re Natural Land
Corp., 825 F.2d at 296 (debtor cannot rid itself of a bad faith filing); Albany Partners, 749 F.2d at
670 (same).

G. The Petition Should be Dismissed Because of Debtor’s Unclean Hands.

“The ‘unclean hands’ defense applies to conduct immediately related to the cause in
controversy.” In re Everett, 364 B.R. 711, 723 (Bankr. D. Ariz. 2007) (citation omitted).
“TBJecause of the clean hands doctrine a federal court should not, in an ordinary case, lend its
judicial power to a plaintiff who seeks to invoke that power for the purpose of consummating a
transaction in clear violation of law.” See Johnson v. Yellow Cab Transit Co., 321 U.S. 383, 387
(1944). “Under the ‘clean hands’ doctrine, one who does not come into equity with clean hands,
and keep them clean, must be denied all relief, whatever may have been the merits of his claim.”
Hall v. Wright, 240 F.2d 787, 794-95 (9th Cir. 1957).

Here, Debtor has unclean hands because, as it knows, there is no way to proceed with this
action without promoting consummation of transactions that clearly violate federal law. See
Johnson, 321 U.S. at 387.

In In re Medpoint Management, the bankruptcy court dismissed the creditors’ involuntary
petition for relief, under the unclean hands doctrine, because the petitioning creditors knew they
had a consulting relationship with a medical marijuana company (the debtor). Jn re Medpoint
Met., LLC., 528 B.R. 178 (Bankr. D. Ariz. 2015), vacated in part on other grounds, 2016 WL
3251581 (9th Cir. BAP 2016). If the Medipoint Management creditor-petitioners had unclean
hands justifying dismissal, then the Debtor-petitioner in this case has hands that are all the more
unclean because Debtor-petitioner is not merely a consultant, Debtor-petitioner JS the entity
actually cultivating, manufacturing, distributing, and selling marijuana. The case must be

dismissed because of Debtor-petitioner’s own unclean hands.

H. In the Absence of Dismissal, the Stay Should Be Lifted so the Nevada Court Can
Proceed with Protecting Creditors’ and Debtor’s Interests.

The authorities cited above all point to dismissal in this case because there is no plan the

Debtor could propose that does not rely on federally illegal conduct by a bankruptcy trustee. Asa

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Case 19-12300-mkn Doc18 Entered 04/23/19 15:41:10 Page 20 of 21

less-efficient alternative, one bankruptcy court denied dismissal but “granted relief from stay to
continue with” the collateral state action. Arm Ventures, LLC, 564 B.R. 77, 87 (S.D. Fla. 2017).
There, however, the Court imagined a possibility that the debtor could “file a plan that does not
depend on the sale of marijuana as an income source,” because the debtor had real property with
tenants who were not selling marijuana. Jd. at 86. That is different than here because it is not
feasible that Debtor could generate any revenue that does not depend on marijuana, because that
is Debtor’s only revenue source. See Imbimbo Decl. J 6-7 (counting the enormous value of
Debtor’s marijuana inventory and estimating there is enough cash generation potential to satisfy
its debt to 4Front). Accordingly, while this case should be dismissed for the reasons set forth
herein, at a minimum the facts and law justify lifting the stay so that 4Front and the other
creditors can proceed with their months-long efforts to appoint a receiver and receive other
appropriate relief under Nevada law in the Nevada state court, which is much better suited to
resolve this dispute.

Specifically, if the Court does not dismiss the Petition, 4Front requests that the Court lift
the stay so: (1) the Nevada state court may appoint a receiver, and (2) the Nevada state court may
proceed in ordering sanctions against Debtor. Given the urgency of the situation and the rapid
dissipation of Debtor’s assets, 4Front requests that the Court waive the 14-day stay of
enforcement of the order terminating the automatic stay that would otherwise exist under F.R.B.P

4001(a)(3).

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Case 19-12300-mkn Doc18 Entered 04/23/19 15:41:10 Page 21 of 21

IV. CONCLUSION

It is fully within the providence of the Nevada court to sort out issues under Nevada state
law, including rendering judicial decisions and orders affecting Nevada’s highly-regulated and
important state-legal marijuana policy, which policy was reflected by an affirmative ballot
initiative process and subsequent statutes and regulations enacted through duly authorized
legislative bodies on behalf of the people of Nevada. It is not within the province of this
honorable federal Court, purely “a creature of federal law,” to lift its equitable hand in aid of the
Debtor whose core business and only revenue source violates the federal Controlled Substances
Act. The Petition should be dismissed.

DATED this 23"! day of April 2019.

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